Name andCase   2:19-cv-02084-ODW-KS
         address:                                       Document 5 Filed 03/20/19 Page 1 of 4 Page ID #:15

                          Nicholas M. Wajda
               11400 West Olympic Boulevard, Suite 200M
                     Los Angeles, California 90064


                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER
ANDREW D. FOX and RILEY N. COTTA,
                                                          Plaintiff(s),                 2:19-cv-02084
                   v.
                                                                                APPLICATION OF NON-RESIDENT ATTORNEY
COLLECTO, INC. d/b/a EOS CCA,                                                         TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Coleman, Eric D.
Applicant's Name (Last Name, First Name & Middle Initial)                                                check here if federal government attorney
Sulaiman Law Group, Ltd.
Firm/Agency Name
2500 South Highland Avenue                                                (630) 575-8181                             (630) 575-8188
Suite 200                                                                 Telephone Number                           Fax Number
Street Address
Lombard, IL 60148                                                                                  ecoleman@sulaimanlaw.com
City, State, Zip Code                                                                                     E-mail Address

I have been retained to represent the following parties:
Andrew D. Fox and Riley N. Cotta                                          ✖   Plaintiff(s)         Defendant(s)     Other:
                                                                              Plaintiff(s)         Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                    Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
                 State Bar of Illinois                        11/9/2017                      Yes




G-64 (11/18)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                   Page 1 of 3
Case 2:19-cv-02084-ODW-KS Document 5 Filed 03/20/19 Page 2 of 4 Page ID #:16
Case 2:19-cv-02084-ODW-KS Document 5 Filed 03/20/19 Page 3 of 4 Page ID #:17
Case 2:19-cv-02084-ODW-KS Document 5 Filed 03/20/19 Page 4 of 4 Page ID #:18
